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                    1   COOLEY LLP
                        BOBBY GHAJAR (198719)
                    2   (bghajar@cooley.com)
                        TERESA MICHAUD (296329)
                    3   (tmichaud@cooley.com)
                        COLETTE GHAZARIAN (322235)
                    4   (cghazarian@cooley.com)
                        1333 2nd Street, Suite 400
                    5   Santa Monica, California 90401
                        Telephone:    (310) 883-6400
                    6
                        MARK WEINSTEIN (193043)
                        (mweinstein@cooley.com)
                    7
                        KATHLEEN HARTNETT (314267)
                        (khartnett@cooley.com)
                    8
                        JUDD LAUTER (290945)
                        (jlauter@cooley.com)
                    9
                        ELIZABETH L. STAMESHKIN (260865)
                        (lstameshkin@cooley.com)
                   10
                        3175 Hanover Street
                        Palo Alto, California 94304-1130
                   11
                        Telephone:     (650) 843-5000
                   12   CLEARY GOTTLIEB STEEN & HAMILTON LLP
                        ANGELA L. DUNNING (212047)
                   13   (adunning@cgsh.com)
                        1841 Page Mill Road, Suite 250
                   14   Palo Alto, California 94304
                        Telephone: (650) 815-4131
                   15
                        [Full Listing on Signature Page]
                   16   Counsel for Defendant Meta Platforms, Inc.
                   17
                                                   UNITED STATES DISTRICT COURT
                   18
                                                NORTHERN DISTRICT OF CALIFORNIA
                   19
                                                        SAN FRANCISCO DIVISION
                   20
                        RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC-TSH
                   21
                           Individual and Representative Plaintiffs,    DEFENDANT META PLATFORMS, INC.’S
                   22                                                   FURTHER RESPONSE TO COURT’S
                               v.                                       DISCOVERY ORDER OF DECEMBER 4, 2024
                   23                                                   [DKT. 304]
                        META PLATFORMS, INC., a Delaware
                   24   corporation;
                   25                                   Defendant.
                   26

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COOLEY LLP
ATTORNEYS AT LAW                                                                   DEF. META’S FURTHER RESPONSE TO
                                                                              COURT’S ORDER OF DEC. 4, 2024 [DKT. 304]
                                                                                              3:23-CV-03417-VC-TSH
                         Case 3:23-cv-03417-VC          Document 330        Filed 12/11/24      Page 2 of 2



                    1          Pursuant to the Magistrate Judge’s Order on December 4, 2024 (Dkt. 304), Defendant Meta

                    2   Platforms, Inc. (“Meta”) hereby submits as the attached Exhibit 1 a revised copy of Exhibit CC

                    3   (Dkt. 246-14 and Dkt. 249-28) to the Parties’ October 31, 2024, Joint Letter Brief (Dkt. 247), with

                    4   narrowly tailored redactions. Meta respectfully submits that good cause exists for the submission

                    5   of the identified portions of this document under seal for the reasons set forth in its earlier-filed

                    6   Declaration of Michelle Woodhouse (Dkt. 246-1) in support of Meta’s Unopposed Administrative

                    7   Motion to File Under Seal (Dkt 246). Meta respectfully requests that the Court order sealed the

                    8   redacted portions of revised Exhibit CC.

                    9
                        Dated: December 11, 2024                           COOLEY LLP
                   10

                   11
                                                                           By:       /s/ Cole A. Poppell
                   12                                                            Bobby Ghajar
                                                                                 Philip Morton
                   13                                                            Mark Weinstein
                                                                                 Kathleen Hartnett
                   14                                                            Teresa Michaud
                                                                                 Matthew Brigham
                   15                                                            Judd Lauter
                                                                                 Liz Stameshkin
                   16                                                            Colette Ghazarian
                                                                                 Juan Pablo Gonzalez
                   17   Full Counsel List                                        Cole A. Poppell
                   18                                                            LEX LUMINA PLLC
                        COOLEY LLP                                               Mark A. Lemley
                   19   PHILLIP MORTON (pro hac vice)
                        (pmorton@cooley.com)                                     CLEARY GOTTLIEB STEEN &
                   20   COLE A. POPPELL (pro hac vice)                           HAMILTON LLP
                        (cpoppell@cooley.com)                                    Angela L. Dunning
                   21   1299 Pennsylvania Avenue, NW, Suite 700
                        Washington, DC 20004-2400                                Attorneys for Defendant
                   22   Telephone:   (202) 842-7800                              META PLATFORMS, INC.
                   23   COOLEY LLP
                        MATTHEW BRIGHAM (191428)
                   24   (mbrigham@cooley.com)
                        JUAN PABLO GONZALEZ (334470)
                   25   (jgonzalez@cooley.com)
                        3175 Hanover Street
                   26   Palo Alto, California 94304-1130
                        Telephone:     (650) 843-5000
                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                     DEF. META’S SECOND RESPONSE TO COURT’S
                                                                     1                   ORDER OF DECEMBER 4, 2024 [DKT. 304]
                                                                                                      3:23-CV-03417-VC-TSH
